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                                                                                        Filed: 3/9/2022 3:54 PM
                                                                                        Lynne Finley
                                                                                        District.Clerk
                                             :                                          Collin County, Texas
                                                                                        By Suzanne Rogers Depury
                                                 A7:~ _0 1.1 65_202.2                   Envelope ID: 62461552
                                     Cause:l~1a. ~:_       -----       - —




    LEGA.CY BR()KERAGE,,LL.0                 ,    ~                ~         IN THE.DISTRICT COURT
                                                       .           ~
          : Vs                                                     ~         COLLIN COUNTY, TEXAS
.
    NEWREZ MORTGAGF,, LLC                                                        JUDICIAL DISTRICT

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                                 I'LAIlN7E'MV~ ~C~~1~RI~TAiC, FETI'TgO1Qi

    TO TF-iE I=IONORABLE JLTDGF, OF.SATD WUXI':

    Comes now LEGACY EROKER,AGE; L~.C, and suirig foz causes of action alleges:



                                           RULE 47 STATEMENT

    This suit.does not seek darnages but coxieerns
                                              ;    title to rea.l estate.

                                                  ;         Il

                                            DIS:COVf,RY LEVEL

    Plaintiff iritends to conduct discovery u.tid1er T,eveli?, Tex.R.Civ.Pro.



                                                      PARTIES

    Plaintiff is LEGACY BROKERAGE, .LLC, a]imited liabil.ity company domiciled in Dallas

    Colanty, Texas.                               ;

    D,ef.endant is NEWREZ h/IORTGAGE; L'LC,. De£endant r.taay be served with process by sei-ving

    its registered agent for service o# pmcoss:;

            Corporation Service Co~npany;; d!~/a/ CSC-I avayers Incorpoxating Service Company'
            211 E. 7" St. Suite G2®
            Austin, Tx. 78701                     z                                                           .
                                                  ;
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        ~   "      ~                                 ~    .                  .
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                                                                             ~TEN1,1E

            Venue is mandatory in this CoLuity be~au§e'fih.is sui.t concerns real estate located in this County.
                                                                    `
                                                                    .;            v                                                .
                                                         CMNbI~ICDNS
                                                               ,.    f'1tEC;EDENT

            Plaintiff pleads~ pursuant to Rule 54, T R.Cj.v.Pro., that all conditions precedent to its righ,t'to

                       . occurred.
            recavezy have                                     ~      ~

                                                                                  vi
                                                                         193.7 ADVISCRY

            Defendant i:s advised that all docurrients pi•otlucecl izi discovery shall be considered self=

            autheaticated.                                           ;

                                                                     ~            VT:[

                                                                                 FA.CTS

                  l. This suit concerns tllat certain h.o*e aild lot located at 7812 W'hi.ppoorwill Drive.

                       McKinney, Texas, and more pttriicularly desc:ra bed as Lot 13, Bock B of Eagle Creek. an
                                                         ~
                       Addition to the City of McYiiiiieyti aecorrling to the .Plat.thereof recorded in Volume 1,,

                       "Pa,ge 473, Map records o.f C'oll:iil C, oilaity, '1'exas.

                  2. Plaintiff acquired the pr.operty ht a lien forcclos7are sale on Septernber 7, 2021.

                  3, 'Plainfiff recorded its deed as lixstrainent No. 20210914001875980

                  4, Plaintiff's predecessor in itnerdst, is Mark l:.omrhaus., who purchased the property on or '

                       about October 24, 2000, recorcliBa bi.s deed as Inst,i-ument No. 20001027001184380.

                  5., On that date said predecessor execui:ed a. deed of tru.st,. recorded as instrument No.. .       .
                       200.00118439 in favor of Sperlui~: and I1ssociates, Inc:




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                          Case 4:22-cv-00496-SDJ Document 2 Filed 06/14/22 Page 3 of 4 PageID #: 37
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                                          •

                              6:' An assignxnent then appears, it`tlie~ lblic rocor.dto Chase Manhattan Mortgage

                                 Corporat"ion. Said assigtienent doe$ tiot speciiical.ly reference the deed of trust. It 'is

                                 recorded as Instnnneait No. 20Q'00•11844t).

                              7_ Said deed of trust vvas later                           .a.nd upon its release there was recorded another deed

                                 of trust as Instrument No. 200'1.-0X43964, i.n favor of Mortgage Factory, Inc.

                              8: The deed of trust was then. assigned 1;o. MIT Lending via instrument No., 2002-0020264.

                              9. Defendant claims owner5hip.0ftho deed of i:rust via an assignment forns Ditech Financial,

                                 T,LC, dated January 2, 2020, a~.~;r~co.rclecl ~5 Instrument No,'20200103000010210.

                              1.0.:.Batilc of America cia.imed ow.u6tsliip of l:he deed of trust via an assignment from

                                  Mortgage Eiecirotjic Registiat'itan ~ysterrls, In.c., dated Septernber 3'0, 2011, and recorded

                                  as Instrument No. 20111.010,0( 083"1,70.

                              11: Eanlc of tlmerica had assif;n;ed+,tlie deed cxf t:mst to Green Tree Servicing, LLC, the

                                  predecessor in interest td Ditech Fznancia1.

                              1;2. lBank of America never accluired ,goo41 title to the deed of trust because it purported to

                                  acquire same from an entity thil xiever ovvried it; to wit:lVlortgage Electronic Registration

                                  Systems, Inc.                           r'       ~


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                                                                ,          c        ;

                                                                        CAI:TSI;S OF ACT'ICN
                                                                                             T'A


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                                                                           : ~UIET TITLJE
                                                      .


                              1. Plaintiff refers to and ind'orfJot&ea,;b;v tliis reference each allegation.above.

                              2: . Deferidant is the record holdet of a' deed of trust encumbering the property.




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   3. Plai.ntiff is informed and..believeys th,at DefGndazat does not own any interest in the deed of
                                                     ~                                                      •
        trusf whatsoever.                    ;

    4. The interest claimed by Defendanti al),pears to be valid on its face. Nevertheiess, it is in

        fact ineffective and a.n u-njusti:(ied clou.d on t:itl.e; which should be removed..

   .5. In.the alternative, in the event ffaat,,I~f;fencl.atit is able to confirm ownership of de.ed.of

        trust; l'laintiff prays that the Couxt Dc:cr.ee tL►at it is enti.tled to receive from Defendant

        information sufficiexit to etrable; it to di5choxge such lien.

    6. . Plaintiff prays that the Cc~~irt ~il and clecree tt~at I'laintiff o.wns the property free o f the

        said deed of trust.

:WHEREFOItE, PII;El!!tISES CONSLQ~1~,ET),P:la.i.tttiff prays that Defendaiit be cited to answer

a.rid appear herein; and that upofi, fin.al t'r'iail lalai.nti.ff be granted the relief herein prayed for, for

costs of court; and for such other aixd ffirther reliet' as the C;ourt deerns just.

                                            Respectfully subrnztted,

                                                            ,7 ma& S. 3LUta
                                                         Ken.cyeth S. Harter
                                                         Stat.a: :F3ar. ;LI): 09155300

                                                         La:w Offices of' Kenneth S. Harter
                                                         5080 Spectrum Dr. Suite 1000-E
                                                         Adtlison, Tx. 7$001
                                                         ()12.) 752-1928
                                                         Fax (.?.14) 20C-•1491
                                                 '       kr~xi(ir>,lce;nb.arter.coia~
                                                         Attot71eys for Legacy Brokerage.

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